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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND


BRANDY SINNETT, individually and on                             1:23-cv-03468
                                                      Case No. ____________________
behalf of all others similarly situated,

                    Plaintiff,                        CLASS ACTION COMPLAINT

   v.

ZEROED-IN TECHNOLOGIES, LLC,                          JURY TRIAL DEMANDED

            Registered Agent:
            Keith A. Goode
            780 Elkridge landing Road
            Suite 208
            Linthicum, Maryland 21090

   and

DOLLAR TREE, INC.,

            Principal Office Address:
            500 Volvo Pkwy
            Chesapeake, Virginia 23320

            Registered Agent:
            Corporation Service Company
            100 Shockoe Slip, Floor 2,
            Richmond, Virginia 23219

                    Defendants.



         Plaintiff Brandy Sinnett (“Plaintiff”), individually and on behalf of all others similarly

situated, brings this action against Defendants Zeroed-In Technologies, LLC (“Zeroed-In”) and

Dollar Tree, Inc. (“Dollar Tree”) (collectively, “Defendants”) and alleges as follows based on

personal knowledge as to her own acts and on investigation conducted by counsel as to all other

allegations:
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                                             PARTIES

       1.       Plaintiff Brandy Sinnett is a citizen and resident of Ohio.

       2.       Defendant Zeroed-In Technologies, LLC is a Florida limited liability company with

its principal place of business in Linthicum, Maryland.

       3.       Defendant Dollar Tree, Inc. is a Virginia corporation with its principal place of

business in Chesapeake, Virginia.

                                 JURISDICTION AND VENUE

       4.       This Court has subject-matter jurisdiction pursuant to the Class Action Fairness

Act, 28 U.S.C. § 1332(d) because (1) the matter in controversy exceeds the sum or value of

$5,000,000, exclusive of interest and costs, (2) the action is a class action, (3) there are Class

members who are diverse from Defendants, and (4) there are more than 100 Class members.

       5.       This Court has general personal jurisdiction over Defendant Zeroed-In

Technologies, LLC because Defendant’s principal place of business is in this state.

       6.       This Court has personal jurisdiction over Defendant Dollar Tree, Inc. because it

regularly conducts business in Maryland and has sufficient minimum contacts in Maryland.

Further, Plaintiff’s claims arise out of Defendant Dollar Tree, Inc.’s contacts with this state,

including but not limited to Defendant Dollar Tree, Inc.’s interactions with Defendant Zeroed-In

Technologies, LLC.

       7.       Venue is proper in this district pursuant to 28 U.S.C. § 1391(b)(2) because a

substantial part of the events or omissions giving rise to the claim occurred in this district.




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                                  FACTUAL ALLEGATIONS

  I.   Background

       8.       Zeroed-In is based in Linthicum, Maryland and provides data analytics,

management, and software services to businesses across the county.

       9.       Dollar Tree is based in Chesapeake, Virginia and operates over 16,000 retail

discount stores across the county.

       10.      Dollar Tree’s employees, like Plaintiff and Class members, provided certain

Personal Identifying Information (“PII” or “Personal Information”) to Defendants, which is

necessary to obtain employment from Dollar Tree.

       11.      Dollar Tree utilizes Zeroed-In to manage employee data, including employees’

Personal Information.

       12.      As sophisticated companies with an acute interest in maintaining the confidentiality

of the Personal Information entrusted to it, Defendants are well-aware of the numerous data

breaches that have occurred throughout the United States and their responsibility for safeguarding

Personal Information in their possession.

       13.      Defendants represent to consumers and the public that they possess robust security

features to protect Personal Information and that they take their responsibility to protect Personal

Information seriously.

       14.      Zeroed-In’s privacy policy states:

                Zeroed-In Technologies, LLC (“Zeroed-In”, “We”, “Our”, “Us”) is
                committed to protecting the privacy of your information.

                                                ...

                We will not review, share, distribute, or reference any Customer
                Data except as provided in the applicable Zeroed-In Master
                Subscription Agreement or as may be required by law. We process



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                   Customer Data in our Service Platform under the direction of our
                   customers. We have no direct relationship with the individuals
                   whose personal data are contained in the Customer Data.

                                                     ...

                   We employ robust security measures to protect against the loss,
                   misuse and alternation of the personal information under our
                   control. The Sites employ Secure Socket Layer (SSL) technology
                   using both server authentication and data encryption. The Sites are
                   hosted in a secure server environment that uses firewalls, intrusion
                   detection systems, and other advanced technology to protect against
                   interference or access from outside intruders.

                   However, no method of transmission over the Internet, or method of
                   electronic storage, is 100% secure. Therefore, we cannot guarantee
                   absolute security. It is your responsibility to ensure you are
                   accessing the Sites and Service Platform using an up-to-date web
                   browser. You are also responsible for maintaining the security and
                   confidentiality of any usernames and passwords associated with the
                   Sites.

                   Keeping your personal information secure is our first priority. We
                   encourage responsible reporting of any vulnerability that may be
                   found in the Sites or Service Platform. We are committed to working
                   with the security community to verify and respond to any potential
                   vulnerability that is reported to us. To report a potential vulnerability
                   or make an inquiry about security on the Sites or Service Platform,
                   please send an e-mail with details to support@Zeroed-In.com.
                   Please provide full details of the suspected vulnerability so our
                   security team may validate and reproduce the issue. 1

Dollar Tree’s privacy policy states:

                   We at Dollar Tree, Inc., Dollar Tree Stores, Inc., Family Dollar
                   Stores, Inc., and their affiliates (“Dollar Tree,” “We,” “Us,” or
                   “Our”) care deeply about privacy, security, and online safety.

                                                     ...

                   We respect the importance of privacy.

                                                     ...



1
    https://www.Zeroed-In.com/privacy-policy/.


                                                      4
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                    Personal Information is maintained on our servers or those of our
                    service providers, and is accessible by authorized employees,
                    representatives, and agents as necessary for the purposes described
                    in this Policy.

                    We use various reasonable and appropriate safeguards
                    (administrative, organizational, technical, electronic, procedural,
                    and physical) to protect the Personal Information we collect and
                    process. Our security controls are designed to maintain an
                    appropriate level of confidentiality, integrity, and availability of
                    your Personal Information. Nonetheless, no such measure is 100%
                    effective; therefore, we do not guarantee that your Personal
                    Information will be secure from theft, loss, or unauthorized access
                    or use, and we make no representation as to the reasonableness,
                    efficacy, or appropriateness of the measures we use to safeguard
                    such Personal Information, nor that information about you will
                    remain secure in all circumstances. In the event of a security incident
                    of which we are required by law to inform you, we may notify you
                    by email, postal mail, or by telephone, if permitted to do so by law.

                    Our Site permits you to create an account. When you do, you will
                    be prompted to create a password. For your convenience, our Site
                    includes functionality that allows you to remain logged in so that
                    you do not have to re-enter your password each time you want to
                    access your account. If you choose to remain logged in, you should
                    be aware that anyone with access to your device will be able to
                    access and make changes to your account and may be able to make
                    purchases through your account. For that reason, if you choose to
                    remain logged in, we strongly recommend that you take appropriate
                    steps (such as enabling the “Passcode Lock” security feature on your
                    mobile device) to protect against unauthorized access to and use of
                    your account. You are responsible for maintaining the
                    confidentiality of your password, and you are responsible for any
                    access to or use of your account by someone else who has obtained
                    your password, whether or not such access or use has been
                    authorized by you. You should notify us of any unauthorized use of
                    your password or account as specified in the Contact Us section
                    below.

                    We encourage you to use caution when using the Internet. If you
                    have reason to believe that your interaction with us is no longer
                    secure, please immediately notify us as specified in the Contact Us
                    section below. 2



2
    https://www.dollartree.com/privacy-policy.


                                                      5
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    II.    The Data Breach

           15.      According to Zeroed-In, on August 8, 2023, Zeroed-In learned of suspicious

activity on its computer network (“Data Breach”). 3

           16.      Zeroed-In provided further information via a press release:

                    Nature of the Data

                    Event On August 8, 2023, Zeroed-In discovered suspicious activity
                    related to certain network systems. Zeroed-In immediately took
                    steps to secure the systems and launched an investigation into the
                    nature and scope of the activity. Through the investigation, it was
                    determined that an unauthorized actor gained access to certain
                    systems between August 7, 2023 and August 8, 2023. While the
                    investigation was able to determine that these systems were
                    accessed, it was not able to confirm all of the specific files that were
                    accessed or taken by the unauthorized actor. Therefore, Zeroed- In
                    conducted a review of the contents of the systems to determine what
                    information was present at the time of the incident, to whom the
                    information relates, and to which Zeroed-In customers the
                    information belonged. This review was completed on August 31,
                    2023 and Zeroed-In notified Customer of the event because certain
                    individuals associated with them were identified during the review.
                    The information that was present on the systems at the time of the
                    incident includes names, dates of birth, and/or Social Security
                    number. Zeroed-In coordinated notification with Customer and is
                    providing notice to individuals and regulators, as required, on
                    Customer’s behalf.

                                                      ...

                    Other Steps Taken and To Be Taken

                    Upon discovering the event, Zeroed-In moved quickly to investigate
                    and respond to the incident, assess the security of Zeroed-In
                    systems, and identify potentially affected individuals and Zeroed- In
                    customers. Further, Zeroed-In notified federal law enforcement
                    regarding the event. Zeroed- In is also reviewing existing policies
                    and procedures and implemented additional safeguards. Zeroed-In
                    is also providing complimentary access to credit monitoring services
                    for twelve (12) months, through TransUnion, to individuals whose
                    information was potentially affected by this incident.


3
    https://pharmerica.com/data-privacy-incident/.


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                Additionally, Zeroed-In is providing impacted individuals with
                guidance on how to better protect against identity theft and fraud,
                including information on how to place a fraud alert and security
                freeze on one’s credit file, the contact details for the national
                consumer reporting agencies, information on how to obtain a free
                credit report, a reminder to remain vigilant for incidents of fraud and
                identity theft by reviewing account statements and monitoring free
                credit reports, and encouragement to contact the Federal Trade
                Commission, their state Attorney General, and law enforcement to
                report attempted or actual identity theft and fraud. Zeroed-In is
                providing written notice of this incident to relevant state regulators,
                as necessary, and to the three major credit reporting agencies,
                Equifax, Experian, and TransUnion. 4

        17.     The Data Breach compromised individuals’ names, dates of birth, and Social

Security numbers. 5

        18.     The Data Breach affected 1,977,486 individuals, including Plaintiff and Class

members, who entrusted their Personal Information to Defendants. 6

        19.     Zeroed-In sent a breach notification letter to affected individuals on or around

November 2023. 7 Plaintiff received the breach notification letter on December 11, 2023. 8

        20.     Defendants did not state why they were unable to prevent the Data Breach or which

security feature failed.

        21.     Defendants did not state why they waited three months after the Data Breach before

notifying affected individuals.

        22.     Defendants failed to prevent the Data Breach because they did not adhere to

commonly accepted security standards and failed to detect that their databases were subject to a

security breach.



4
  https://apps.web.maine.gov/online/aeviewer/ME/40/b3993ddd-2443-4645-ae45-f36dc7686236.shtml.
5
  Id.
6
  Id.
7
  Id.
8
  A copy of Plaintiff’s breach notification letter is attached as Exhibit 1.


                                                    7
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III.   Plaintiff’s Experience

       23.     Plaintiff was employed by Family Dollar (owned by Defendant Dollar Tree) from

approximately June 2019 – June 2021, and as a condition of her employment, provided Defendant

with her Private Information.

       24.     Plaintiff is very careful about sharing her sensitive Private Information and

diligently maintains her Private Information in a safe and secure manner. Plaintiff has never

knowingly transmitted unencrypted sensitive Private Information over the internet or any other

unsecured source.

       25.     As a result of the Data Breach, Plaintiff has and will continue to spend time trying

to mitigate the consequences of the Data Breach. This includes time spent verifying the legitimacy

of communications related to the Data Breach, and self-monitoring her accounts and credit reports

to ensure no fraudulent activity has occurred.

       26.     Plaintiff suffered lost time, annoyance, interference, and inconvenience because of

the Data Breach and has anxiety and increased concerns for the loss of her privacy.

       27.     This time has been lost forever and cannot be recaptured. The harm caused to

Plaintiff cannot be undone.

       28.     Plaintiff further suffered actual injury in the form of damages to and diminution in

the value of her Private Information—a form of intangible property that Plaintiff entrusted to

Defendants, which was compromised in and as a result of the Data Breach.

       29.     Plaintiff has suffered imminent and impending injury arising from the present and

ongoing risk of fraud, identity theft, and misuse resulting from her Private Information being

placed in the hands of cybercriminals.




                                                 8
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           30.      Future identity theft monitoring is reasonable and necessary and such services will

include future costs and expenses.

           31.      Plaintiff has a continuing interest in ensuring that her Private Information, which,

upon information and belief, remains in Defendants’ control, is protected, and safeguarded from

future breaches.

IV.        Injuries to Plaintiff and Class Members

           32.      As a direct and proximate result of Defendants’ actions and omissions in failing to

protect Plaintiff and Class members’ Personal Information, Plaintiff and Class members have been

injured.

           33.      Plaintiff and Class members have been placed at a substantial risk of harm in the

form of credit fraud or identity theft and have incurred and will likely incur additional damages,

including spending substantial amounts of time monitoring accounts and records, in order to

prevent and mitigate credit fraud, identity theft, and financial fraud.

           34.      In addition to the irreparable damage that may result from the theft of Personal

Information, identity theft victims must spend numerous hours and their own money repairing the

impacts caused by a breach. After conducting a study, the Department of Justice’s Bureau of

Justice Statistics found that identity theft victims “reported spending an average of about 7 hours

clearing up the issues” and resolving the consequences of fraud in 2014. 9

           35.      In addition to fraudulent charges and damage to their credit, Plaintiff and Class

members may spend substantial time and expense (a) monitoring their accounts to identify

fraudulent or suspicious charges; (b) cancelling and reissuing cards; (c) purchasing credit

monitoring and identity theft prevention services; (d) attempting to withdraw funds linked to



9
    U.S. Dep’t of Justice, Victims of Identity Theft, 2014 (Nov. 13, 2017), http://www.bjs.gov/content/pub/pdf/vit14.pdf.


                                                             9
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compromised, frozen accounts; (e) removing withdrawal and purchase limits on compromised

accounts; (f) communicating with financial institutions to dispute fraudulent charges; (g) resetting

automatic billing instructions and changing passwords; (h) freezing and unfreezing credit bureau

account information; (i) cancelling and re-setting automatic payments as necessary; and (j) paying

late fees and declined payment penalties as a result of failed automatic payments.

           36.      Additionally, Plaintiff and Class members have suffered or are at increased risk of

suffering from, inter alia, the loss of the opportunity to control how their Personal Information is

used, the diminution in the value or use of their Personal Information, and the loss of privacy.

 V.        Securing Personal Information and Preventing Breaches

           37.      Defendants could have prevented this Data Breach by properly securing and

encrypting the Personal Information of Plaintiff and Class members. Alternatively, Defendants

could have destroyed the data they no longer had a reasonable need to maintain or only stored data

in an Internet-accessible environment when there was a reasonable need to do so.

           38.      Defendants’ negligence in safeguarding the Personal Information of Plaintiff and

Class members is exacerbated by the repeated warnings and alerts directed to protecting and

securing sensitive data.

           39.      Despite the prevalence of public announcements of data breach and data security

compromises, Defendants failed to take appropriate steps to protect the Personal Information of

Plaintiff and Class members from being compromised.

           40.      The Federal Trade Commission (“FTC”) defines identity theft as “a fraud

committed or attempted using the identifying information of another person without authority.” 10

The FTC describes “identifying information” as “any name or number that may be used, alone or



10
     17 C.F.R. § 248.201 (2013).


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in conjunction with any other information, to identify a specific person,” including, among other

things, “[n]ame, Social Security number, date of birth, official State or government issued driver’s

license or identification number, alien registration number, government passport number,

employer or taxpayer identification number.” 11

       41.     The ramifications of Defendants’ failure to keep secure the Personal Information

of Plaintiff and Class members are long lasting and severe. Once Personal Information is stolen,

particularly Social Security numbers, fraudulent use of that information and damage to victims

may continue for years.




VI.    The Value of Personal Information

       42.     It is well known that Personal Information, and Social Security numbers and

financial account information in particular, is an invaluable commodity and a frequent target of

hackers.

       43.     People place a high value not only on their Personal Information, but also on the

privacy of that data. This is because identity theft causes “significant negative financial impact on

victims” as well as severe distress and other strong emotions and physical reactions. 12

       44.     People are particularly concerned with protecting the privacy of their financial

account information and social security numbers, which are the “secret sauce” that is “as good as




11
  Id.
12
   Identity Theft Resource Center, Identity Theft: The Aftermath 2017, https://www.idtheftcenter.org/wp-
content/uploads/images/page-docs/Aftermath_2017.pdf.


                                                  11
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your DNA to hackers.” 13 There are long-term consequences to data breach victims whose social

security numbers are taken and used by hackers. Even if they know their social security numbers

have been accessed, Plaintiff and Class members cannot obtain new numbers unless they become

a victim of social security number misuse. Even then, the Social Security Administration has

warned that “a new number probably won’t solve all [] problems . . . and won’t guarantee . . . a

fresh start.” 14

        45.        The Personal Information of individuals remains of high value to criminals, as

evidenced by the prices they will pay through the dark web. Numerous sources cite dark web

pricing for stolen identity credentials. For example, personal information can be sold at a price

ranging from $40 to $200, and bank details have a price range of $50 to $200. 15 Experian reports

that a stolen credit or debit card number can sell for $5 to $110 on the dark web. 16 Criminals can

also purchase access to entire company data breaches from $900 to $4,500. 17

        46.        Social Security numbers, for example, are among the worst kind of personal

information to have stolen because they may be put to a variety of fraudulent uses and are difficult

for an individual to change. The Social Security Administration stresses that the loss of an

individual’s Social Security number, as is the case here, can lead to identity theft and extensive

financial fraud:

                   A dishonest person who has your Social Security number can use it
                   to get other personal information about you. Identity thieves can use
                   your number and your good credit to apply for more credit in your

13
   Cameron Huddleston, How to Protect Your Kids From the Anthem Data Breach, Kiplinger, (Feb. 10, 2015), https://
www.kiplinger.com/article/credit/T048-C011-S001-how-to-protect-your-kids-from-the-anthem-data-brea.html.
14
   Social Security Admin., Identity Theft and Your Social Security Number, at 6-7, https://www.ssa.gov/pubs/EN-05-
10064.pdf.
15
   Your personal data is for sale on the dark web. Here’s how much it costs, Digital Trends (Oct. 16, 2019),
https://www.digitaltrends.com/computing/personal-data-sold-on-the-dark-web-how-much-it-costs/.
16
    Here’s How Much Your Personal Information Is Selling for on the Dark Web, Experian (Dec. 6, 2017),
https://www.experian.com/blogs/ask-experian/heres-how-much-your-personal-information-is-selling-for-on-the-
dark-web/.
17
   In the Dark, VPNOverview (2019), https://vpnoverview.com/privacy/anonymous-browsing/in-the-dark/.


                                                       12
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                name. Then, they use the credit cards and don’t pay the bills, it
                damages your credit. You may not find out that someone is using
                your number until you’re turned down for credit, or you begin to get
                calls from unknown creditors demanding payment for items you
                never bought. Someone illegally using your Social Security number
                and assuming your identity can cause a lot of problems. 18

        47.     What is more, it is no easy task to change or cancel a stolen Social Security number.

An individual cannot obtain a new Social Security number without significant paperwork and

evidence of actual misuse. In other words, preventive action to defend against the possibility of

misuse of a Social Security number is not permitted; an individual must show evidence of actual,

ongoing fraud activity to obtain a new number.

        48.     Even then, a new Social Security number may not be effective. According to Julie

Ferguson of the Identity Theft Resource Center, “The credit bureaus and banks are able to link the

new number very quickly to the old number, so all of that old bad information is quickly inherited

into the new Social Security number.” 19

        49.     Based on the foregoing, the information compromised in the Data Breach is

significantly more valuable than the loss of, for example, credit card information in a retailer data

breach because, there, victims can cancel or close credit and debit card accounts. The information

compromised in this Data Breach is impossible to “close” and difficult, if not impossible, to

change.

        50.     This data demands a much higher price on the black market. Martin Walter, senior

director at cybersecurity firm RedSeal, explained, “Compared to credit card information,




18
   Social Security Admin., Identity Theft and Your Social Security Number, https://www.ssa.gov/pubs/EN-05-
10064.pdf.
19
   Bryan Naylor, Victims of Social Security Number Theft Find It’s Hard to Bounce Back, NPR (Feb. 9, 2015),
http://www.npr.org/2015/02/09/384875839/data-stolen-by-anthem-s-hackers-has-millionsworrying-about-identity-
theft.


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personally identifiable information and Social Security numbers are worth more than 10x on the

black market.” 20

         51.    Among other forms of fraud, identity thieves may obtain driver’s licenses,

government benefits, medical services, and housing or even give false information to police.

         52.    The fraudulent activity resulting from the Data Breach may not come to light for

years.

         53.    There may be a time lag between when harm occurs versus when it is discovered,

and also between when Personal Information is stolen and when it is used. According to the U.S.

Government Accountability Office (“GAO”), which conducted a study regarding data breaches:

                [L]aw enforcement officials told us that in some cases, stolen data
                may be held for up to a year or more before being used to commit
                identity theft. Further, once stolen data have been sold or posted on
                the Web, fraudulent use of that information may continue for years.
                As a result, studies that attempt to measure the harm resulting from
                data breaches cannot necessarily rule out all future harm. 21

         54.    At all relevant times, Defendants knew, or reasonably should have known, of the

importance of safeguarding the Personal Information of Plaintiff and Class members, including

Social Security numbers, and of the foreseeable consequences that would occur if their data

security system was breached, including, specifically, the significant costs that would be imposed

on Plaintiff and Class members as a result of a breach.

         55.    Plaintiff and Class members now face years of constant surveillance of their

financial and personal records, monitoring, and loss of rights. Plaintiff and Class members are




20
   Time Greene, Anthem Hack: Personal Data Stolen Sells for 10x Price of Stolen Credit Card Numbers, IT World,
(Feb. 6, 2015), https://www.networkworld.com/article/2880366/anthem-hack-personal-data-stolen-sells-for-10x-
price-of-stolen-credit-card-numbers.html.
21
   Report to Congressional Requesters, GAO, at 29 (June 2007), https://www.gao.gov/assets/gao-07-737.pdf.


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incurring and will continue to incur such damages in addition to any fraudulent use of their

Personal Information.

        56.     Defendants were, or should have been, fully aware of the unique type and the

significant volume of data contained in the Personal Information that Defendants stored

unencrypted, and, thus, the significant number of individuals who would be harmed by the

exposure of the unencrypted data.

        57.     The injuries to Plaintiff and Class members were directly and proximately caused

by Defendants’ failure to implement or maintain adequate data security measures for the Personal

Information of Plaintiff and Class members.

VII.    Industry Standards for Data Security

        58.     At all relevant times, Defendants knew, or reasonably should have known, of the

importance of safeguarding the Personal Information of Plaintiff and Class Members and the

foreseeable consequences that would occur if Defendants’ data security system were breached,

including, specifically, the significant costs that would be imposed on Plaintiff and Class Members

because of a breach.

        59.     Defendants were, or should have been, fully aware of the unique type and the

significant volume of data on their network, amounting to potentially millions of individuals’

detailed, personal information and, thus, the significant number of individuals who would be

harmed by the exposure of the unencrypted data.

        60.     As explained by the Federal Bureau of Investigation, “[p]revention is the most

effective defense against ransomware and it is critical to take precautions for protection.” 22




22
  How to Protect Your Networks from Ransomware, FBI, https://www.fbi.gov/file-repository/ransomware-prevention
-and-response-for-cisos.pdf/view.


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        61.      In light of the numerous high-profile data breaches targeting companies like Target,

Neiman Marcus, eBay, Anthem, Deloitte, Equifax, Marriott, T-Mobile, and Capital One,

Defendants are, or reasonably should have been, aware of the importance of safeguarding Personal

Information, as well as of the foreseeable consequences of their systems being breached.

        62.      Therefore, the increase in such attacks, and the attendant risk of future attacks, were

widely known to the public and to anyone in Defendants’ industry, including Defendants.

        63.      Security standards commonly accepted among businesses that store Personal

Information using the internet include, without limitation:

                 a.      Maintaining a secure firewall configuration;

                 b.      Monitoring for suspicious or irregular traffic to servers;

                 c.      Monitoring for suspicious credentials used to access servers;

                 d.      Monitoring for suspicious or irregular activity by known users;

                 e.      Monitoring for suspicious or unknown users;

                 f.      Monitoring for suspicious or irregular server requests;

                 g.      Monitoring for server requests for Personal Information;

                 h.      Monitoring for server requests from VPNs; and

                 i.      Monitoring for server requests from Tor exit nodes.

        64.      The U.S. Federal Trade Commission (“FTC”) publishes guides for businesses for

cybersecurity 23 and protection of Personal Information 24 which includes basic security standards

applicable to all types of businesses.




23
   Start with Security: A Guide for Business, FTC (June 2015), https://www.ftc.gov/system/files/documents/plain-
language/pdf0205-startwithsecurity.pdf.
24
   Protecting Personal Information: A Guide for Business, FTC (Oct. 2016), https://www.ftc.gov/system/files/
documents/plain-language/pdf-0136_proteting personalinformation.pdf.


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65.   The FTC recommends that businesses:

      a.    Identify all connections to the computers where you store sensitive
            information.

      b.    Assess the vulnerability of each connection to commonly known or
            reasonably foreseeable attacks.

      c.    Do not store sensitive consumer data on any computer with an internet
            connection unless it is essential for conducting their business.

      d.    Scan computers on their network to identify and profile the operating
            system and open network services. If services are not needed, they should
            be disabled to prevent hacks or other potential security problems. For
            example, if email service or an internet connection is not necessary on a
            certain computer, a business should consider closing the ports to those
            services on that computer to prevent unauthorized access to that machine.

      e.    Pay particular attention to the security of their web applications—the
            software used to give information to visitors to their websites and to retrieve
            information from them. Web applications may be particularly vulnerable to
            a variety of hacker attacks.

      f.    Use a firewall to protect their computers from hacker attacks while it is
            connected to a network, especially the internet.

      g.    Determine whether a border firewall should be installed where the
            business’s network connects to the internet. A border firewall separates the
            network from the internet and may prevent an attacker from gaining access
            to a computer on the network where sensitive information is stored. Set
            access controls—settings that determine which devices and traffic get
            through the firewall—to allow only trusted devices with a legitimate
            business need to access the network. Since the protection a firewall provides
            is only as effective as its access controls, they should be reviewed
            periodically.

      h.    Monitor incoming traffic for signs that someone is trying to hack in. Keep
            an eye out for activity from new users, multiple log-in attempts from
            unknown users or computers, and higher-than-average traffic at unusual
            times of the day.

      i.    Monitor outgoing traffic for signs of a data breach. Watch for unexpectedly
            large amounts of data being transmitted from their system to an unknown
            user. If large amounts of information are being transmitted from a business’
            network, the transmission should be investigated to make sure it is
            authorized.



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        66.     The FTC has brought enforcement actions against businesses for failing to

adequately and reasonably protect customer information, treating the failure to employ reasonable

and appropriate measures to protect against unauthorized access to confidential consumer data as

an unfair act or practice prohibited by Section 5 of the Federal Trade Commission Act, 15 U.S.C.

§ 45. Orders resulting from these actions further clarify the measures businesses must take to meet

their data security obligations. 25

        67.     Because Defendants were entrusted with Personal Information, they had, and have,

a duty to keep the Personal Information secure.

        68.     Plaintiff and Class members reasonably expect that when their Personal

Information is provided to a sophisticated business for a specific purpose, that business will

safeguard their Personal Information and use it only for that purpose.

        69.     Nonetheless, Defendants failed to prevent the Data Breach. Had Defendants

properly maintained and adequately protected their systems, they could have prevented the Data

Breach.

                                      CLASS ALLEGATIONS

        70.     This action is brought as a class action pursuant to Fed. R. Civ. P. 23.

        71.     The Class is defined as follows:

                Nationwide Class: All persons whose Personal Information was
                maintained on Defendants’ servers that was compromised in the
                Data Breach.

                Dollar Tree Class: All persons whose Personal Information was
                maintained by Dollar Tree that was compromised in the Data
                Breach.




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   Federal Trade Commission, Privacy and Security Enforcement: Press Releases, https://www.ftc.gov/news-
events/media-resources/protecting-consumer-privacy/privacy-security-enforcement.


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       72.     The Class excludes the following: Defendants, their affiliates, and their current and

former employees, officers and directors, and the Judge assigned to this case.

       73.     The Class definition may be modified, changed, or expanded based upon discovery

and further investigation.

       74.     Numerosity: The Class is so numerous that joinder of all members is impracticable,

evidenced by the large number of individuals presently known to have been injured by Defendants’

conduct. The Class is ascertainable by records in the possession of Defendants or third parties.

       75.     Commonality: Questions of law or fact common to the Class include, without

limitation:

               a.      Whether Defendants owed a duty or duties to Plaintiff and Class members
                       to exercise due care in collecting, storing, safeguarding, and obtaining their
                       Personal Information;

               b.      Whether Defendants breached that duty or those duties;

               c.      Whether Defendants failed to establish appropriate administrative,
                       technical, and physical safeguards to ensure the security and confidentiality
                       of records to protect against known and anticipated threats to security;

               d.      Whether the security provided by Defendants was satisfactory to protect
                       Personal Information as compared to industry standards;

               e.      Whether Defendants misrepresented or failed to provide adequate
                       information regarding the type of security practices used;

               f.      Whether Defendants knew or should have known that they did not employ
                       reasonable measures to keep Plaintiff and Class members’ Personal
                       Information secure and prevent loss or misuse of that Personal Information;

               g.      Whether Defendants acted negligently in connection with the monitoring
                       and protecting of Plaintiff’s and Class members’ Personal Information;

               h.      Whether Defendants’ conduct was intentional, willful, or negligent;

               i.      Whether Plaintiff and Class members suffered damages as a result of
                       Defendants’ conduct, omissions, or misrepresentations; and




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                j.     Whether Plaintiff and Class members are entitled to injunctive, declarative,
                       and monetary relief as a result of Defendants’ conduct.

       76.      Typicality: Plaintiff’s claims are typical of the claims of Class members. Plaintiff

and Class members were injured and suffered damages in substantially the same manner, have the

same claims against Defendants relating to the same course of conduct, and are entitled to relief

under the same legal theories.

       77.      Adequacy: Plaintiff will fairly and adequately protect the interests of the Class and

have no interests antagonistic to those of the Class. Plaintiff’s counsel are experienced in the

prosecution of complex class actions, including actions with issues, claims, and defenses similar

to the present case.

       78.      Predominance and superiority: Questions of law or fact common to Class members

predominate over any questions affecting individual members. A class action is superior to other

available methods for the fair and efficient adjudication of this case because individual joinder of

all Class members is impracticable and the amount at issue for each Class member would not

justify the cost of litigating individual claims. Should individual Class members be required to

bring separate actions, this Court would be confronted with a multiplicity of lawsuits burdening

the court system while also creating the risk of inconsistent rulings and contradictory judgments.

In contrast to proceeding on a case-by-case basis, in which inconsistent results will magnify the

delay and expense to all parties and the court system, this class action presents far fewer

management difficulties while providing unitary adjudication, economies of scale and

comprehensive supervision by a single court. There are no known difficulties that are likely to be

encountered in the management of this action that would preclude its maintenance as a class action.

       79.      Accordingly, this class action may be maintained pursuant to Fed. R. Civ. P.

23(b)(3).



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       80.      Defendants have acted, and refused to act, on grounds generally applicable to the

Class, thereby making appropriate final equitable relief with respect to the Class as a whole.

       81.      Accordingly, this class action may be maintained pursuant to Fed. R. Civ. P.

23(b)(2).

                                     CAUSES OF ACTION

                                            COUNT I

                                         NEGLIGENCE
             (On Behalf of Plaintiff and All Class Members Against All Defendants)

       82.      All preceding paragraphs are incorporated herein by reference as though fully set

forth herein.

       83.      Defendants owed a duty of care to Plaintiff and Class members to use reasonable

means to secure and safeguard the entrusted Personal Information, to prevent its unauthorized

access and disclosure, to guard it from theft, and to detect any attempted or actual breach of their

systems. These common law duties existed because Plaintiff and Class members were the

foreseeable and probable victims of any inadequate security practices. In fact, not only was it

foreseeable that Plaintiff and Class members would be harmed by the failure to protect their

Personal Information because hackers routinely attempt to steal such information and use it for

nefarious purposes, but Defendants knew that it was more likely than not Plaintiff and Class

members would be harmed by such exposure of their Personal Information.

       84.      Defendants’ duties to use reasonable security measures also arose as a result of the

special relationship that existed between Defendants, on the one hand, and Plaintiff and Class

members, on the other hand. The special relationship arose because Defendants were entrusted

with Plaintiff’s and Class members’ Personal Information, Defendants accepted and held the

Personal Information, and Defendants represented that the Personal Information would be kept



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secure pursuant to their data security policies. Defendants alone could have ensured that their data

security systems and practices were sufficient to prevent or minimize the data breach.

       85.     Defendants’ duties to use reasonable data security measures also arose under

Section 5 of the Federal Trade Commission Act (“FTC Act”), 15 U.S.C. § 45, which prohibits

“unfair . . . practices in or affecting commerce,” including, as interpreted and enforced by the FTC,

the unfair practice of failing to use reasonable measures to protect Personal Information. Various

FTC publications and data security breach orders further form the basis of Defendants’ duties. In

addition, individual states have enacted statutes based upon the FTC Act that also created a duty.

       86.     Defendants’ violations of Section 5 of the FTC Act constitute negligence per se.

       87.     Defendants breached the aforementioned duties when they failed to use security

practices that would protect Plaintiff’s and Class members’ Personal Information, thus resulting in

unauthorized third-party access to the Plaintiff and Class members’ Personal Information.

       88.     Defendants further breached the aforementioned duties by failing to design, adopt,

implement, control, manage, monitor, update, and audit their processes, controls, policies,

procedures, and protocols to comply with the applicable laws and safeguard and protect Plaintiff

and Class members’ Personal Information within their possession, custody, and control.

       89.     As a direct and proximate cause of failing to use appropriate security practices,

Plaintiff and Class members’ Personal Information was disseminated and made available to

unauthorized third parties.

       90.     Defendants admitted that Plaintiff and Class members’ Personal Information was

wrongfully disclosed as a result of the breach.




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       91.     The breach caused direct and substantial damages to Plaintiff and Class members,

as well as the possibility of future and imminent harm through the dissemination of their Personal

Information and the greatly enhanced risk of credit fraud or identity theft.

       92.     By engaging in the forgoing acts and omissions, Defendants committed the

common law tort of negligence. For all the reasons stated above, Defendants’ conduct was

negligent and departed from reasonable standards of care including by, but not limited to: failing

to adequately protect the Personal Information; failing to conduct regular security audits; and

failing to provide adequate and appropriate supervision of persons having access to Plaintiff and

Class members’ Personal Information.

       93.     But for Defendants’ wrongful and negligent breach of their duties owed to Plaintiff

and Class members, their Personal Information would not have been compromised.

       94.     Neither Plaintiff nor the Class contributed to the breach or subsequent misuse of

their Personal Information as described in this Complaint. As a direct and proximate result of

Defendants’ actions and inactions, Plaintiff and Class members have been put at an increased risk

of credit fraud or identity theft, and Defendants have an obligation to mitigate damages by

providing adequate credit and identity monitoring services. Defendants are liable to Plaintiff and

Class members for the reasonable costs of future credit and identity monitoring services for a

reasonable period of time, substantially in excess of one year. Defendants are also liable to Plaintiff

and Class members to the extent that they have directly sustained damages as a result of identity

theft or other unauthorized use of their Personal Information, including the amount of time Plaintiff

and Class members have spent and will continue to spend as a result of Defendants’ negligence.

Defendants are also liable to Plaintiff and Class members to the extent their Personal Information




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has been diminished in value because Plaintiff and Class members no longer control their Personal

Information and to whom it is disseminated.

                                            COUNT II

                           BREACH OF IMPLIED CONTRACT
  (On Behalf of Plaintiff and Dollar Tree Class Members Against Defendant Dollar Tree)

        95.     Plaintiff hereby incorporates by reference all preceding paragraphs as though fully

set forth herein.

        96.     Defendant invited Plaintiff and Class members to provide their Personal

Information to Defendant. As consideration for the benefits Defendant was to administer, Plaintiff

and Class members provided their Personal Information to Defendant. When Plaintiff and Class

members provided their Personal Information to Defendant, they entered into implied contracts by

which Defendant agreed to protect their Personal Information and only use it solely to administer

benefits. As part of the offer, Defendant would safeguard this Personal Information using

reasonable or industry-standard means.

        97.     Accordingly, Plaintiff and Class members accepted Defendant’s offer to administer

benefits and provided Defendant their Personal Information.

        98.     Plaintiff and Class members fully performed their obligations under the implied

contracts with Defendant. However, Defendant breached the implied contracts by failing to

safeguard Plaintiff’s and the Class’s Personal Information.

        99.     The losses and damages Plaintiff and Class members sustained that are described

herein were the direct and proximate result of Defendant’s breaches of its implied contracts with

them. Additionally, because Plaintiff and Class members continue to be parties to the ongoing

administration and distribution of benefits under the contracts, and because damages may not

provide a complete remedy for the breaches alleged herein, Plaintiff and Class members are



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therefore entitled to specific performance of the contracts to ensure data security measures

necessary to properly effectuate the contracts maintain the security of their Personal Information

from unlawful exposure.

        100.       Defendant’s conduct as alleged herein also violated the implied covenant of good

faith and fair dealing inherent in every contract, and Defendant is liable to Plaintiff and Class

members for associated damages and specific performance.

                                               COUNT III

              BREACH OF THIRD-PARTY BENEFICIARY CONTRACT
        (On Behalf of Plaintiff and All Class Members Against Defendant Zeroed-In)

        101.       Plaintiff and the Class repeat and re-allege each and every allegation as if fully set

forth herein.

        102.       Upon information and belief, Zeroed-In entered into contracts with its customers to

provide data analytics, management, and software services; services that included data security

practices, procedures, and protocols sufficient to safeguard the Private Information that was

entrusted to it.

        103.       Such contracts were made expressly for the benefit of Plaintiff and the Class, as it

was their Private Information that Defendant agreed to receive, store, utilize, and protect through

its services. Thus, the benefit of collection and protection of the Private Information belonging to

Plaintiff and the Class was the direct and primary objective of the contracting parties and Plaintiff

and Class members were direct and express beneficiaries of such contracts.

        104.       Defendant knew or should have known that if it were to breach these contracts with

its customers, Plaintiff and Class members would be harmed.




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       105.    Defendant breached its contract with customers by, among other things, failing to

adequately secure Plaintiff’s and Class members’ Private Information, and, as a result, Plaintiff

and Class members were harmed by Defendant’s failure to secure their Private Information.

       106.    As a direct and proximate result of Defendant’s breach, Plaintiff and Class members

are at a current and ongoing risk of identity theft, and Plaintiff and Class members sustained

incidental and consequential damages including: (i) financial “out-of-pocket” costs incurred

mitigating the materialized risk and imminent threat of identity theft; (ii) loss of time and loss of

productivity incurred mitigating the materialized risk and imminent threat of identity theft risk;

(iii) financial “out-of-pocket” costs incurred due to actual identity theft; (iv) loss of time incurred

due to actual identity theft; (v) loss of time due to increased spam and targeted marketing emails;

(vi) diminution of value of their Private Information; (vii) future costs of identity theft monitoring;

(viii) and the continued risk to their Private Information, which remains in Defendant’s control,

and which is subject to further breaches, so long as Defendant fails to undertake appropriate and

adequate measures to protect Plaintiff’s and Class members’ Private Information.

       107.    Plaintiff and Class members are entitled to compensatory, consequential, and

nominal damages suffered as a result of the Data Breach.

       108.    Plaintiff and Class members are also entitled to injunctive relief requiring

Defendant to, inter alia, (i) strengthen its data security systems and monitoring procedures; (ii)

submit to future annual audits of those systems and monitoring procedures; and (iii) immediately

provide adequate credit monitoring to all Class members.




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                                            COUNT IV

                                  UNJUST ENRICHMENT
           (On Behalf of Plaintiff and All Class Members Against All Defendants)

       109.     All preceding paragraphs are incorporated herein by reference as though fully set

forth herein.

       110.     Plaintiff and Class members have an interest, both equitable and legal, in their

Personal Information that was conferred upon, collected by, and maintained by Defendants and

that was ultimately compromised in the Data Breach.

       111.     Defendants, by way of their acts and omissions, knowingly and deliberately

enriched themselves by saving the costs they reasonably should have expended on security

measures to secure Plaintiff’s and Class members’ Personal Information.

       112.     Defendants also understood and appreciated that the Personal Information

pertaining to Plaintiff and Class members was private and confidential and its value depended

upon Defendants maintaining the privacy and confidentiality of that Personal Information.

       113.     Instead of providing for a reasonable level of security that would have prevented

the breach—as is common practice among companies entrusted with such Personal Information—

Defendants instead consciously and opportunistically calculated to increase their own profits at

the expense of Plaintiff and Class members. Nevertheless, Defendants continued to obtain the

benefits conferred on them by Plaintiff and Class members. The benefits conferred upon, received,

and enjoyed by Defendants were not conferred gratuitously, and it would be inequitable and unjust

for Defendants to retain these benefits.

       114.     Plaintiff and Class members, on the other hand, suffered as a direct and proximate

result. As a result of Defendants’ decision to profit rather than provide requisite security, and the

resulting breach disclosing Plaintiff’s and Class members’ Personal Information, Plaintiff and



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Class members suffered and continue to suffer considerable injuries in the forms of, inter alia,

attempted identity theft, time and expenses mitigating harms, diminished value of Personal

Information, loss of privacy, and increased risk of harm.

       115.    Thus, Defendants engaged in opportunistic conduct in spite of their duties to

Plaintiff and Class members, wherein they profited from interference with Plaintiff’s and Class

members’ legally protected interests. As such, it would be inequitable, unconscionable, and

unlawful to permit Defendants to retain the benefits they derived as a consequence of their conduct.

       116.    Accordingly, Plaintiff and Class members respectfully request that this Court award

relief in the form of restitution or disgorgement in the amount of the benefit conferred on

Defendants as a result of their wrongful conduct, including specifically, the amounts that

Defendants should have spent to provide reasonable and adequate data security to protect

Plaintiff’s and Class members’ Personal Information, and compensatory damages.

                                    PRAYER FOR RELIEF

       WHEREFORE, Plaintiff prays for a judgment as follows:

               a.      For an order certifying the Class, appointing Plaintiff as Class
                       Representative, and appointing the law firms representing Plaintiff as
                       counsel for the Class;

               b.      For compensatory and punitive and treble damages in an amount to be
                       determined at trial;

               c.      Payment of costs and expenses of suit herein incurred;

               d.      Both pre-and post-judgment interest on any amounts awarded;

               e.      Payment of reasonable attorneys’ fees and expert fees;

               f.      Such other and further relief as the Court may deem proper.

                                          JURY DEMAND

       Plaintiff demands trial by jury.



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Dated: December 21, 2023                  Respectfully submitted,

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